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                8
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                9

              10                                    UNITED STATES DISTRICT COURT

              11                                              DISTRICT OF NEVADA
              12       ELIZABETH BAKER,                                    Case No. 3:17-cv-00587-MMD-WGC
              13                       Plaintiff,
                                                                        STIPULATION TO EXTEND TIME TO FILE
              14               v.                                       JOINT PRE-TRIAL ORDER
              15       APTTUS CORPORATION, a Delaware
                       Corporation; DOES I-X, inclusive,
              16
                                       Defendant.
              17

              18              Defendant Apttus Corporation (“Defendant”) and Plaintiff Elizabeth Baker (“Baker”),
              19      through their undersigned counsel, hereby stipulate and respectfully request that the time for the
              20      parties to file the joint pre-trial order in this matter be extended by three weeks, up to and including

              21      February 1, 2021. In support of this request, the parties state as follows:

              22              1.      The current deadline to file the joint pretrial order is January 11, 2021.

              23              2.      The parties have worked and continue to work diligently and cooperatively in order

              24      to prepare the joint pre-trial order.

              25              3.      However, the parties require additional time to confer regarding the language and

              26      content of the order.

              27              4.      The Court previously advised the parties, during their December 10, 2021,

              28      settlement conference, that the Court would extend the deadline upon the request of the parties.

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                             5.      The parties request a two-week extension of the deadline, from January 11, 2021,
                2     to February 1, 2021.
                3            6.      This extension is requested in good faith and not for the purpose of delay.
                4            7.      This is the first request for an extension of this deadline, and is not anticipated to
                5     cause any delay or prejudice to any party.
                6            STIPULATED this 11th day of January, 2021.
                7

                8     ROBISON, SHARP, SULLIVAN & BRUST                        JACKSON LEWIS PC

                9     /s/ Hannah E. Winston                                   /s/ Phillip Thompson __________________
                      Kent R. Robison, Esq. – NSB #1167                       David Montgomery, Esq.
              10
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              14
                      Todd A. Bader, Esq. – NSB #3854
              15
                      Attorneys for Plaintiff Elizabeth Baker
              16

              17

              18                                                   ORDER
              19
                                                   ___ day of January
                             IT IS SO ORDERED this 11th                                    , 2021.
              20

              21

              22                                                    U.S. District Court Judge
              23

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